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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA                               RECEIVED
                                                                                     JUL 3 0 2013
UNITED STATES OF AMERICA,                    )                                  CLERK U.S. DISTRICT COURT
                                             )                                  SOUTHERN DlSTR!CT OF IOWA
                      Plaintiff,             )
                                             )
               vs.                           )       Case No. 3:13-cr-OOOI2
                                             )
DAVID GABRIEL MORAGO,                        )
                                             )
                      Defendant.             )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count One of the Indictment After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea

was knowing and voluntary as to that count, and that the offense charged is supported by an

independent factual basis concerning each of the essential elements of such offense. I, therefore,

recommend that the plea of guilty be accepted, that a pre-sentence investigation and report be

prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.

f ?W~O-~ ~rJ.(2. C~, Q. \l(c)(l)t).
Date
       chl~ W, Q.o I~

                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1 )(B).
